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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS

COMMODITY FUTURES TRADING COMMISSION, )
                                       )
              Plaintiff,               )
                                       )
                     v.                ) Civil Action No. 4:h-19-2901
                                       )
EOX HOLDINGS LLC and ANDREW GIZIENSKI, )
                                       )
              Defendants.              )

                                          ORDER

      This cause came before the Court on Defendants’ DEFENDANTS’ UNOPPOSED

MOTION TO SEAL EXHIBIT, and it is hereby ORDERED:

      The Clerk shall seal Plaintiff’s Trial Exhibit 102, Docket No. 273-40.



_________________________                  __________________________________________
      DATE                                             SIM LAKE
                                           SENIOR UNITED STATES DISTRICT JUDGE
